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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §   Case No. 5:21-cv-844-XR
v.                                      §
                                        §
GREG ABBOTT, et al.,                    §
      Defendants.                       §
HOUSTON JUSTICE, et al.,                §
     Plaintiffs,                        §
                                        §
v.                                      §   Case No. 5:21-cv-848-XR
                                        §
GREG ABBOTT, et al.,                    §
      Defendants.                       §


               STATE DEFENDANTS’ MOTION TO DISMISS THE
            HOUSTON JUSTICE PLAINTIFFS’ AMENDED COMPLAINT
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                                              INTRODUCTION
        In the State Defendants’ previous motions to dismiss, they explained that sovereign immunity

and standing operate provision-by-provision and claim-by claim. Those prior motions noted that the

Houston Justice Plaintiffs and Mi Familia Vota Plaintiffs, now joined together in one complaint, failed

to show how Governor Greg Abbott, Secretary of State John Scott, and Attorney General Ken Paxton

affirmatively enforced the provisions of Senate Bill 1 (“SB1”) such that they cause the injuries Plaintiffs

purport to have suffered. The Houston Justice Plaintiffs have not cured that deficiency.

        Instead, they have compounded it. Plaintiffs broadly challenge twenty-eight portions of SB1 over

the course of 128 pages, but nowhere in their amended complaint do they plausibly allege that the

State Defendants have an enforcement role for purposes of Ex parte Young and Article III standing.

By and large, the challenged portions of SB1 are enforced by local election officials, like the early-

voting clerk, presiding election judge, or signature verification committee. And where one of the State

Defendants does have some role—like how the Secretary of State designs the tool that allows voters

to update their personal identification information—that role aids voters instead of injuring them.

Plaintiffs’ claims as to the State Defendants should be dismissed for lack of subject-matter jurisdiction.

        In addition, The Houston Justice Plaintiffs have failed to cure the deficiencies in their claims

asserted under the Americans with Disabilities Act (“ADA”), Rehabilitation Act, and Section 208 of

the Voting Rights Act (“VRA”). Plaintiffs fail to plausibly allege that their members have qualifying

disabilities, but even if they had done so, they would be unable to assert those individual claims as

third parties. In addition, Plaintiffs fail to demonstrate that the accommodations they seek are denied

by the State Defendants, as opposed to local election officials. Nor are Plaintiffs’ claims sufficiently

pleaded as a matter of law. They should be dismissed.1




1 Plaintiffs’ claims also fail for reasons not addressed in this Motion. To conserve judicial economy, the State
Defendants assert only the arguments raised in this Motion, but reserve the right to raise additional arguments
at a later juncture.


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                                               ARGUMENT

I.      The Court Lacks Jurisdiction Over Plaintiffs’ Claims

        At bottom, the Court lacks subject-matter jurisdiction over Plaintiffs’ claims with respect to

the State Defendants because the Governor, Secretary of State, and Attorney General either (i) do not

enforce the SB1 provisions Plaintiffs challenge, or (ii) do not harm Plaintiffs with the actions they take

to implement a particular provision. The former means that Plaintiffs’ claims are barred by sovereign

immunity, and the latter means that Plaintiffs lack standing to assert their claims. This interrelation is

common because the “Article III standing analysis and Ex parte Young analysis ‘significantly overlap.”’

City of Austin v. Paxton, 943 F.3d 993, 997 (5th Cir. 2019) (quoting Air Evac EMS, Inc. v. Tex. Dep’t of

Ins., 851 F.3d 507, 520 (5th Cir. 2017)).

        Sovereign immunity “prohibits suits against state officials or agencies that are effectively suits

against a state.” Id. But “Ex parte Young allows injunctive or declaratory relief against a state official in

her official capacity, provided the official has a sufficient ‘connection’ with the enforcement of the

allegedly unconstitutional law.” Mi Familia Vota v. Abbott, 977 F.3d 461, 467 (5th Cir. 2020) (citing In

re Abbott, 956 F.3d 696, 708 (5th Cir. 2020), vacated as moot sub nom. Planned Parenthood Ctr. for Choice v.

Abbott, 141 S. Ct. 1261 (2021)). Fifth Circuit “precedents distill three rules” relevant to the

enforcement-connection inquiry:

            (1) “[I]t is not enough that the state official was merely the but-for cause of
            the problem that is at issue in the lawsuit”;

            (2) “[W]here a statute is being challenged, . . . a provision-by-provision analysis
            is required”; and

            (3) “[I]n the particular context of Texas elections . . . the Secretary’s role varies,
            so [the plaintiffs] must identify the Secretary’s specific duties within the
            particular statutory provision.”

Tex. Democratic Party v. Hughs, 860 F. App’x 874, 877 (5th Cir. 2021) (per curiam) (citing Tex. Democratic

Party v. Abbott, 978 F.3d 168, 175, 179–81 (5th Cir. 2020)).

        In addition, a state official “is not a proper defendant” if enjoining him or her from performing

the applicable statutory duty would not “afford the Plaintiffs the relief they seek.” Mi Familia Vota,


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977 F.3d at 467. In that situation, even assuming the plaintiffs sustained an injury in fact, the state

defendants did not cause those injuries, and thus enjoining those officials will not redress their injuries.

See City of Austin, 943 F.3d at 1002 (plaintiffs lack standing unless there is “a significant possibility that

[the state official] will act to harm a plaintiff.”). Put simply, a plaintiff lacks standing to seek injunctive

relief from a defendant whose official actions do not harm him.

        At the pleading stage, “the plaintiffs’ burden is to allege a plausible set of facts establishing

jurisdiction.” Physician Hosps. of Am. v. Sebelius, 691 F.3d 649, 652 (5th Cir. 2012) (citing Davis v. United

States, 597 F.3d 646, 649–50 (5th Cir. 2009)). Plaintiffs fail to allege facts sufficient to invoke the Ex

parte Young exception or establish standing as to the State Defendants.

        A. Plaintiffs Fail to Plausibly Allege an Enforcement Connection for the Governor

        The State Defendants previously explained that Plaintiffs cannot sue the Governor because

he plays no role in enforcing SB1’s challenged provisions. See ECF 64 at 3. Despite the Court’s

observation that, when “look[ing] at the Governor’s role in enforcement on a specific provision by

provision basis, . . . I don’t see it,” Ex. A at 13:23–14:4, Plaintiffs’ amended complaint includes but a

single allegation regarding the Governor. Specifically, Plaintiffs state: “Defendant GREG ABBOTT

is the Governor of Texas and is sued in his official capacity. Pursuant to Article IV, Section I of the

Texas Constitution, is the chief executive officer of the State of Texas.” ECF 139 ¶ 71. As before, this

allegation fails to establish anything more than a “general duty to see that the laws of the state are

implemented.” Tex. Democratic Party, 961 F.3d at 400–01 (quoting Morris v. Livingston, 739 F.3d 740,

746 (5th Cir. 2014)). The Governor should be dismissed from this lawsuit because he is not responsible

for enforcing SB1. See In re Abbott, 956 F.3d at 709 (“If the official sued is not ‘statutorily tasked with

enforcing the challenged law,’ the requisite connection is absent and ‘[the] Young analysis ends.’”)

(quoting City of Austin, 943 F.3d at 998); accord Tex. Democratic Party v. Abbott, 961 F.3d 389, 401 (5th

Cir. 2020); see also Sixth Street Business Partners v. Abbott, No. 1:20-cv-706, 2020 WL 4274589, at *5 (W.D

Tex. July 24, 2020).




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        B. Plaintiffs Fail to Plausibly Allege an Enforcement Connection for the Secretary of
           State

        With respect to the Secretary of State, Plaintiffs purport to challenge SB1 §§ 2.05, 2.06, 2.07,

3.04, 3.08, 3.09, 3.10, 3.12, 3.13, 3.15, 4.01, 4.04, 4.06, 4.07, 4.09, 4.11, 4.12, 5.01, 5.02, 5.03, 5.04, 5.07,

5.08, 5.12, 5.13, 3.14, 6.01, and 6.03. See ECF 139 ¶¶ 72–76. Their amended complaint is their second

chance to “address these challenges” regarding the State Defendants’ enforcement authority rather

than “wasting everybody’s time,” Ex. A at 15:17–16:16, but even now, they fail to allege facts showing

the Secretary has a sufficient enforcement connection to be subject to suit.

             1. The Secretary’s “General Duties” Do Not Create a Sufficient Enforcement
                Connection
        Plaintiffs’ primary argument on why the Secretary is subject to this suit is that “[a]s ‘chief

election officer of the state,’” he “maintains a significant role in enforcing SB 1[.]”ECF 139 ¶ 73 (citing

Tex. Elec. Code §§ 31.001, 31.003). They repeat this refrain several times, e.g. ¶ 213, 222, 229, but

those statutes do not create the specific enforcement authority required. Section 31.001(a) identifies

the Secretary as the “chief election officer of the state.” Similarly, Section 31.003 charges the Secretary

with the responsibility for “maintain[ing] uniformity in the application, operation, and interpretation

of this code and of the election laws outside this code.” The Fifth Circuit has rejected the idea that an

enforcement connection can be established by general legal administration. “[I]t is not enough that

the official have a ‘general duty to see that the laws of the state are implemented.’” Tex. Democratic Party,

961 F.3d at 400–01 (quoting Morris, 739 F.3d at 746). That is why Plaintiffs “must identify the

Secretary’s specific duties within the particular statutory provision.” Tex. Democratic Party, 860 F. App’x

at 877. The fact that the Secretary is the chief election officer, and that he generally is responsible for

ensuring the uniform application of election laws says nothing about whether he enforces the specific

provisions Plaintiffs challenge. Plaintiffs cannot rely on broad and nonspecific statutory duties to

establish the requisite enforcement connection.

        To be sure, the Fifth Circuit previously—and wrongly—found standing satisfied in an earlier

suit against the Secretary of State because the Secretary “serves as the ‘chief election officer of the




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state.”’ OCA-Greater Houston v. Texas, 867 F.3d 604, 613 (5th Cir. 2017). But OCA “involved a facial

challenge under the Voting Rights Act,” not “an as-applied challenge to a law enforced by local

officials.” Tex. Democratic Party v. Hughs, 974 F.3d 570, 571 (5th Cir. 2020) (per curiam) (distinguishing

OCA). Its reasoning is limited, at least, to cases considering “[t]he facial validity of a Texas election

statute.” OCA, 867 F.3d at 613.

        In any event, OCA is inconsistent with Texas authorities, which control on the underlying

question of Texas law: Does being the “chief election officer” empower the Secretary to enforce

Section 6.04? No, because the “Secretary’s title chief election officer is not a delegation of authority

to care for any breakdown in the election process.” In re Hotze, 627 S.W.3d 642, 649 (Tex. 2020)

(Blacklock, J., concurring) (describing Bullock v. Calvert, 480 S.W.2d 367 (Tex. 1972)) (quotation marks

omitted). OCA did not consider these precedents, or any other opinions from Texas courts. Justice

Blacklock’s In re Hotze concurrence post-dated OCA, so the OCA court did not have a chance to

consider that opinion. And the OCA court appears to have been unaware of Calvert, which was not

cited in the parties’ briefs. Because OCA did not “squarely address[]” Texas cases interpreting the

Secretary’s role as chief election officer, it is not binding “by way of stare decisis.” Brecht v. Abrahamson,

507 U.S. 619, 631 (1993); see Wilson v. Taylor, 658 F.2d 1021, 1034–35 (5th Cir. 1981) (refusing to follow

a Fifth Circuit opinion that conflicted with a previous Supreme Court opinion that “was not called to

the attention of the [first Fifth Circuit] panel”).

            2. Plaintiffs’ Section-Specific Allegations Do Not Demonstrate a Sufficient
               Enforcement Connection

        The State Defendants address in turn each section that Plaintiffs challenge, organized by the

SB1 articles. For some articles (2, 3, and 4), the provisions are explained first, followed by argument

explaining why the Secretary lacks a sufficient enforcement connection with that series of provisions.

Those sections are set of with three asterisks (* * *). For other SB1 articles (5 and 6), those that require

more specific explanation, the State Defendants address each provision independently.




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                i. SB1 Article 2: Voter Rolls

        Article 2 of SB1 generally pertains to the registration of voters, eligibility for registration, and

the maintenance of voter rolls.

        Section 2.05 concerns the maintenance of voter rolls by local registrars. It directs the registrar

to remove a person from the voter rolls if the registrar receives notice that the voter’s citizenship

status is inaccurate. See Tex. Elec. Code § 16.0332(a). In addition, it instructs the Secretary of State and

Department of Public Safety to enter into an agreement to compare their data to verify voters’

citizenship status, which is then provided to the registrars. See id. § 16.0332(a-1).

        Section 2.06 relates to the Secretary of State’s role in ensuring voter registrars comply with SB1

Section 2.05. It establishes penalties for noncompliance, which increase in severity with each violation,

see Tex. Elec. Code § 18.065(e)(1) to (e)(3), including potential civil enforcement by the Attorney

General, id. § 18.065(f). The Secretary is also directed to develop a training course for registrars with

a view for compliance with Section 2.05.

        Section 2.07 directs the Secretary of State to give the voter registrar notice if he determines that

a voter on the registration list no longer lives in the county where that person is registered to vote. See

Tex. Elec. Code § 18.068(a).

                                             *       *       *

        To the extent these requirements are enforced against a particular voter, they are enforced by

the voter registrar—the one who maintains voter rolls and removes ineligible voters. None of the

actions the Secretary is required to take under these sections injures the Houston Justice Plaintiffs. See

Mi Familia Vota, 977 F.3d at 465 (Secretary is not a proper defendant where “[d]irecting the Secretary

not to enforce [the challenged provision] would not afford the Plaintiffs the relief that they seek”).

Plaintiffs cannot contend that they are injured by the Secretary’s role in administering laws that ensure

that all voters are citizens and reside in the county in which they are registered to vote. Their only

complaint appears to be that being made to substantiate one’s citizenship will involve financial

expense. See ECF 139 ¶¶ 193–94. But not only do Plaintiffs fail to identify specific individuals who

would be injured by that requirement, it is the voter registrar—not the Secretary of State—who is



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charged with requiring that information from the voter. The Secretary only provides information to

the registrars, and Plaintiffs do not allege they are injured by those actions, much less that providing

the information violates federal law.

                ii. SB1 Article 3: Election Conduct

        Article 3 of SB1 generally refers to the conduct and security of elections.

        Section 3.04 prohibits voting “from inside a motor vehicle,” Tex. Elec. Code § 43.031(b), or

“drive-through voting,” unless the voter is unable to enter the polling place. See Tex. Elec. Code

§ 64.009.

        Sections 3.08, 3.09, and 3.10 relate to early voting. Section 3.09 increases the mandatory early-

voting hours to at least nine hours per day during weekdays, although early voting may not be

conducted earlier than 6:00 am or later than 10:00 pm. See Tex. Elec. Code § 85.005(a). It also requires

that voters who are in line at the scheduled closing time but have not voted be allowed to vote. See id.

§ 85.005(d). SB1 Section 3.10 likewise extends early-voting hours for weekends and decreases the

county-population threshold for counties eligible to participate in extended early voting from 100,000

to 55,000. See id. § 85.006(e). Section 3.08 requires the Secretary to create a checklist to assist the

presiding election judge in opening and closing polling places for the day. See id. § 66.004.

        Sections 3.12 and 3.13 concern eligible polling places. Generally, they amend the Election Code

to require that polling places be located inside physical buildings and prohibit polling places from

being located in “movable structure[s].” Tex. Elec. Code §§ 83.002, 85.062(b).

        Section 3.15 prohibits voting system ballots from being “arranged in a manner that allows a

political party’s candidates to be selected in one motion or gesture.” Tex. Elec. Code § 124.002(c). Put

simply, SB1 Section 3.15 prohibits single-choice straight-ticket voting.

                                            *       *        *

        Plaintiffs repeatedly cite these sections, see, e.g., ECF 139 ¶¶ 26, 38, 42, 75, 197, 295, 310, but

they allege no facts concerning the Secretary’s role in enforcing them—because they cannot. Actions

concerning early voting, polling places, and ballot design are taken by local government officials, like




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the commissioners courts and early-voting clerks. Plaintiffs’ only assertion regarding enforcement is

that the Secretary “implement[s] these provisions of SB 1.” ECF 139 ¶ 198. But as explained above, a

general duty is insufficient to establish the requisite enforcement connection, especially when it is

supported by only a conclusory assertion.

                 iii. SB1 Article 4: Conduct of Election Officers and Poll Watchers

        Article 4 of SB1 relates to the conduct of election officers and poll watchers.

                       A. Conduct at Polling Places

        Section 4.01 prohibits a presiding election judge from removing a poll watcher for an election-

law violation unless the violation was observed by an election judge or clerk, see Tex. Elec. Code

§ 32.075(g), although a poll watcher may be removed by a law enforcement officer for a breach of the

peace. Id. § 32.075(h).

        Section 4.04 instructs the Secretary of State to develop a training program for poll watchers. See

Tex. Elec. Code § 33.008.

        Section 4.06 involves the acceptance of poll watchers by the early-voting clerk or presiding

election judge. It requires poll watchers to present their certificates of appointment and of completion

of the applicable training program to the clerk or judge upon arrival to the polling place. See Tex. Elec.

Code § 33.051(a). The clerk or judge must then verify the authenticity of the poll watcher’s documents

and, if they are authentic, must accept the watcher for service. See id. § 33.051(b). If accepted, the poll

watcher must swear an oath—administered by the clerk or judge—that he or she will discharge the

applicable duties and not disrupt the voting process. See id. § 33.051(h). Finally, Section 4.06 also

establishes a Class A misdemeanor offense for the wrongful refusal to accept a poll watcher for service.

See id. § 33.051(g).

        Section 4.07 and Section 4.09 concern poll watchers’ entitlement to view voting activities. Section

4.07 clarifies that poll watchers must be allowed free movement generally and must be allowed to sit

or stand “near enough to see and hear” relevant voting activity particularly. Tex. Elec Code § 33.056(a),




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(e), (f). Section 4.09 creates the Class A misdemeanor offense of “unlawfully obstructing a poll

watcher.” Id. § 33.061.

                                              *       *        *

        Plaintiffs’ primarily complaint about Sections 4.01–4.09 is that they expose election officials

to potential liability for their actions toward poll watchers. See ECF 139 ¶¶ 225–27. But none of their

allegations tie their supposed injuries have anything to do with enforcement by the Secretary. These

sections (with one exception) address only early-voting clerks, presiding election judges, poll watchers,

and, if necessary, law enforcement officers. Even if Plaintiffs’ allegation that these sections would

“increase voter and election official intimidation,” ECF 139 ¶ 225, were true—and it is not—the

Secretary of State would not be a proper defendant because he does not do anything to cause that

harm. The Secretary does not supervise individual polling places or poll watchers during voting. Nor

is the Secretary responsible for prosecutions that could impose criminal liability on anybody.

        And the allegations regarding the exceptional section, Section 4.04, fail of their own accord.

The only duty imposed on the Secretary in that section is to devise a training program. Plaintiffs do

not allege that this duty itself violates the law or that carrying it out will harm them; their only allegation

regarding that duty is that it exists. See ECF 139 ¶ 75 (“And the Secretary is tasked under section 4.04

with training poll watchers on their expanded authorities under SB 1. . . .”) There is necessarily no

allegation that the Secretary’s “enforcing” the creation of the training program is connected to

Plaintiffs’ alleged harm because Plaintiffs allege no harm.

                     B. Referrals to the Attorney General

        Section 4.11 adds to the Secretary of State’s permission to refer reported violations of law to

the Attorney General a power to himself sue for injunctive relief if he “believes that a state inspector

was unlawfully prevented or obstructed from the performance of the inspector’s duties.” See Tex. Elec.

Code § 34.005(b). However, the Houston Justice Plaintiffs’ complaint does not mention state

inspectors; Section 4.11 is therefore unrelated to any of their alleged injuries or claims. And the pre-

existing permission to refer reported violations to the Attorney General is not, as Plaintiffs appear to




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argue, see ECF 139 ¶¶ 75–78, an omnibus power to enforce election laws that makes the Secretary a

proper defendant under Ex parte Young or Article III. First, the discretionary permission to pass

reported violations on to another official constitutes, at best, a “general duty to see that the laws of

the state are implemented,” which is insufficient to create jurisdiction. See Tex. Democratic Party, 961

F.3d at 400–01 (quoting Morris, 739 F.3d at 746). Second, Plaintiffs do not contend that they would

be harmed by a mere referral or that such a referral would violate federal law. Any potential injury—

which the Plaintiffs do not allege—would be tied to the bringing of an enforcement action, which is

not the Secretary’s role. Finally, though the Plaintiffs acknowledge that the Secretary’s power is

discretionary—and that, even if exercised, it is at least one step removed from harming them—they

allege no facts that would demonstrate “a significant possibility” that the Secretary will in fact harm

them. City of Austin, 943 F.3d at 1002.

                    C. Early-Voting Ballots

        Section 4.12 concerns procedures for delivering marked early-voting ballots. It adds a

requirement that a ballot delivered in person be received by an election official, who must then record

the voter’s name, signature, and type of identification evidence. See Tex. Elec. Code § 86.006(a-2).

Plaintiffs allege that the Secretary of State is responsible for designing a “roster” for use by the election

official receiving the information listed above, see ECF 139 ¶ 75 (citing Tex. Elec. Code § 86.006(a-

2)), but they do not challenge the design of the roster. Nor do they allege that the Secretary’s actions

in designing the roster will injure them or violate federal law. Plaintiffs’ complaint concerns voters’

having to deliver a ballot in person, rather than by using a drop box, but enforcing that requirement

is the province of local election officials and does not depend on what the Secretary does or does not

do regarding a roster. See Tex. Elec. Code § 86.006(a-2) (“An in-person delivery of a marked ballot

voted under this chapter must be received by an election official at the time of delivery.”).

                                             *       *        *

        Plaintiffs fail to explain how the Secretary enforces Article 4 or how his statutory duties cause

them an injury-in-fact. The process of certifying and accepting poll watchers for service, poll watchers’




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monitoring of the election process, and the potential need for a poll watcher’s removal all concern the

early-voting clerk, the presiding election judge, and the poll watcher. Plaintiffs do not allege that the

Secretary has any involvement in those interactions.

                iv. SB1 Article 5: Voting by Mail

        SB1’s Article 5 generally concerns voting by mail, including ballot-application requirements

and procedures for accepting or rejecting applications and ballots, among other things. The sections

Plaintiffs specifically challenge are addressed below.
        Sections 5.01, 5.02 and 5.03 pertain to mail-in ballot applications and the prescribed form of the

application itself. New requirements include the use of an original, or “wet,” signature, see Tex. Elec.

Code § 84.001(b), and inclusion of the applicant’s driver’s license number other form of identification,

or certification that the applicant has not been issued appropriate identification, see id. § 84.002(a)(1-

a)(A). The prescribed form is amended to include a space for the latter information, id. § 84.011(a)(3-

a). These requirements are enforced by the early-voting clerk, not the Secretary. See id. § 86.001(a)

(early-voting clerk “shall review each application for a ballot to be voted by mail” for compliance with

statutory requirements); cf. Mi Familia Vota, 977 F.3d at 468 (Secretary has no enforcement connection

with respect to ballot-printing restrictions). Plaintiffs plead no facts to the contrary.

        Section 5.04 prohibits “an officer or employee of this state or of a political subdivision” from

distributing a mail-in voting ballot application “to a person who did not request an application.” Tex.

Elec. Code § 84.0111(a). Plaintiffs do not explain what the Secretary of State does to enforce this

section 5.04; the answer is “nothing.”

        Sections 5.07 and 5.08 address the new identification requirements created in Sections 5.02 and

5.03 for applications for mail-in ballots. Section 5.08 requires the form carrier-envelope for these

applications to include a space for an applicant to include the required information. See Tex. Elec.

Code § 86.002(g). Section 5.07 directs the early-voting clerk to reject applications that do not include

the required information. See id. § 86.001(f). It also requires that the clerk notify the applicant of the

rejection and give the applicant an opportunity to cure the application’s defects. See id. § 86.001(f-1),




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(f-2). As with Sections 5.01–5.03, these requirements are enforced by the early-voting clerk, not the

Secretary.

        Sections 5.12, 5.13, and 5.14 concern the review, acceptance, or rejection of mail-in ballots. They

create new sections of the Texas Election Code—Section 87.0271 and 87.0411—which give mail-in

voters an opportunity to correct defects in submitted mail ballots. If a ballot contains one of several

listed defects, and the voter can correct the defect and return the ballot before election day, the

signature verification committee or early voting ballot board (local bodies of review constituted by the

voting clerk) must provide the voter the opportunity to do so. See id. §§ 87.027; 87.0271(a), (b);

87.041(b)(8), (d-1); 87.0411. They may do so by returning the ballot and a notification of the defect to

the voter by mail, if there is sufficient time for the voter to return the ballot by mail. Id.

§§ 87.0271(b)(2), 87.0411(b)(2). If not, they may tell the voter by phone or e-mail of (i) the defect in

the ballot and (ii) the two ways to remedy the defect: cancelling the mail-in ballot and voting in person

or correcting the defect in person within the sixth day after Election Day. Id. §§ 87.0271(c), 87.0411(c).

The Secretary of State “may prescribe any procedures necessary to implement” this process, id.

§§ 87.0271(f), 87.0411(f), but the requirements themselves are enforced by the local election officials.

                v. SB1 Article 6: Voter assistance

        Section 6 of SB1 generally concerns voter assistance, eligibility requirements for giving or

receiving assistance, and related procedures. Plaintiffs challenge the following specific sections.

        Section 6.01 pertains to persons who transport voters to the polls. A person who simultaneously

transports seven or more voters to the polling place must fill out a form identifying the person’s name

and address and whether the person is also assisting the voters in filling out the ballot, though this

form-filling requirement does not apply to family members, id. § 64.009(f), (f-1). This section also

amends Section 64.009 to specify that a poll watcher is allowed to observe all activities related to this

transport or to curbside voting, which is governed by that section. Id. § 64.009(e).

        This process is implemented and enforced by “election officer[s],” id. § 64.009(f), not the

Secretary of State. The Secretary is responsible solely for designing the form and retaining executed




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forms as records. See Tex. Elec. Code § 64.009(g), (h). The Plaintiffs allege only that allowing poll

watchers to watch activity at the polls and requiring persons to complete the form, ECF 139 ¶ 228,

232, 235, might injure; them do not allege how designing the form or retaining executed copies of it

would do so.

        Sections 6.03, 6.04, and 6.05 establish procedures for voting assistants. Texas law, like federal

law, entitles certain voters to assistance in marking or reading the ballot if they have an applicable

physical disability or are unable to read the language in which the ballot is written. Tex. Elec. Code

§ 64.031. Following SB1, a person other than an election officer who assists a voter must take an oath,

administered by the local election officer, swearing that the voter is eligible to receive assistance and

that the assistant will assist the voter within the confines of the law. See Tex. Elec. Code § 64.034. The

assistant must also complete a form identifying the assistant’s name and address, identifying the voter’s

name and address, and stating whether the assistant received any compensation or benefit from a

candidate, campaign, or political committee. Id. § 64.0322(a). While the Secretary of State is

responsible for prescribing the form, the completed forms are submitted with the ballot and reviewed

by local election officials, who are then responsible for accepting or rejecting the ballot. Id.

§ 64.0322(b); see also id. § 86.010(e) (form must be incorporated into the official carrier envelope of the

mail-in ballot).

        As with Section 6.01, Plaintiffs do not allege that the form injures them or that the form

violates federal law. They insist that requiring an assistant “to fill out a form” and make an oath

“impose barriers on voters with disabilities,” ECF 139 ¶ 233, but they allege no facts demonstrating

that the Secretary’s actions impose those requirements. For example, Texas law would require

assistants “to complete a form” regardless of whether the Secretary were enjoined from designing a

form for that could be used for that purpose. Tex. Elec. Code § 64.0322(a).The Secretary is not a

proper defendant as to these SB1 provisions.

        Plaintiffs fail to demonstrate the Secretary of State has a sufficient enforcement connection to

the provisions of SB1 they challenge. Sovereign immunity thus bars the claims asserted against him.




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        C. Plaintiffs Fail to Plausibly Allege an Enforcement Connection for the Attorney
           General

        Neither do Plaintiffs establish a sufficient enforcement connection with the Attorney General.

As to him, Plaintiffs purport to challenge SB1 Sections 2.04, 2.06, 4.06, 4.11, 5.15, 6.01, 6.04, 6.05,

7.02, 7.04, and 8.01. The State Defendants first outline the challenged sections, then address the

Attorney General’s insufficient connection to them.

            1. The Challenged Sections

        Sections 2.04 and 2.06, as explained, see Argument § I.A.2.a, Article 2 pertains to the registration

of voters, eligibility for registration, and the maintenance of voter rolls. Local election officials are

responsible for maintaining the relevant information, and for providing this information to the

Secretary of State on a regular basis. Section 2.06 provides that upon three or more violations of these

requirements, the Attorney General may initiate an enforcement action against the offending county

and may seek civil penalties. See Tex. Elec. Code § 18.065(e)(3). Relatedly, Section 2.04 requires the

voter registrar to give the Attorney General notice if it determines that a person voted who is not

registered to vote. See Tex. Elec. Code § 15.028.

        Sections 4.06 and 4.11, as noted, see Argument § I.A.2.c, these sections prohibit the wrongful

rejection of a poll watcher by an early-voting clerk or presiding election judge. See Tex. Elec. Code

§ 33.051(g). In addition, Texas Election Code § 34.005(a), which is related to, but not amended by

SB1 Section 4.11, authorizes the Secretary of State to refer a reported election-code violation to the

Attorney General.

        Section 5.15 requires the early-voting clerk to give the Attorney General notice of any mail-in

ballots rejected due to failure to comply with applicable requirements, like that the voter already voted

in person in the same election. See Tex. Elec. Code § 87.041(b)(2).

        Sections 6.01, 6.04, and 6.05, as discussed, see Argument § I.A.2.e, concern voter-assistance

requirements and the penalties for compensating or offering to compensate someone for assisting a

voter, or soliciting or receiving compensation for doing so.




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        Sections 7.02 and 7.04 are generally concerned with election fraud, misconduct, and other

unlawful practices. Specifically, Section 7.04 implements several new election offenses, including vote

harvesting for benefit, see Tex. Elec. Code § 276.015, unlawful solicitation and distribution of

application to vote by mail, id. § 276.016, unlawful distribution of early voting ballots and balloting

materials, id. § 267.017, perjury in connection with election procedures, id. § 276.018, and unlawfully

altering election procedures, id. § 276.019.

        Section 8.01, as pertinent here, states that an election official may be liable to the State for a

civil penalty for violating the Election Code. See Tex. Elec. Code § 31.129(b).

            2. Plaintiffs Do Not Sufficiently Allege an Enforcement Role for the Attorney
               General

        It is the plaintiffs’ burden to show that “enforcement [is] forthcoming.” Tex. Democratic Party,

978 F.3d at 181. Plaintiffs’ argument on the Attorney General’s enforcement of the challenged sections

boils down to a recitation of the Attorney General’s statutory authority and three public statements.

Plaintiffs observe that the Attorney General has authority to investigate and prosecute Election Code

violations, may initiate enforcement proceedings against counties under Section 2.06, and can bring

civil suits against offending election officials under Section 8.01. Id. ¶ 78. They also observe that the

Attorney General receives information from the Secretary of State, voter registrars, and early-voting

clerks. Id. ¶ 78–79. They then state that the Attorney General “has demonstrated a willingness to

enforce the election code,” pointing to public statements regarding other enforcement actions and the

structure of the Attorney General’s office. Id. ¶ 80. These allegations fall well short of establishing an

enforcement connection for purposes of Ex parte Young—particularly in light of binding precedent,

which Plaintiffs do not address, from the Texas Court of Criminal Appeals and the Fifth Circuit.

        In State v. Stephens, the Court of Criminal Appeals held that Texas Election Code § 273.021—

which states that “[t]he attorney general may prosecute a criminal offense prescribed by the election

laws of this state”—“is unconstitutional” and the Attorney General “cannot initiate prosecution [of

election cases] unilaterally.” No. PD-1032-20, 2021 WL 5917198, at *1, 8 (Tex. Crim. App. Dec. 15,

2021). That decision provides that, “the authority of the Attorney General is limited to assisting the


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district or county attorney upon request.” Id. at *9. This Court must “take the word of the highest

court on criminal matters of Texas as to the interpretation of its law.” Arnold v. Cockrell, 306 F.3d 277,

279 (5th Cir. 2002) (per curiam). 2 “Speculation that [the Attorney General] might be asked by a local
prosecutor to ‘assist’ in enforcing” SB1 “is inadequate to support an Ex parte Young action against the

Attorney General.” In re Abbott, 956 F.3d at 709 (citing City of Austin, 943 F.3d at 1000). Accordingly,

these and other allegations relating the Attorney General’s authority to prosecute violations of Texas’s

elections law are also insufficient to establish the Attorney General as a proper defendant.

        Even if the OCA Plaintiffs could overcome Stephens, they cannot overcome the Fifth Circuit’s

holding in City of Austin: “the mere fact that the Attorney General has the authority” to enforce a

challenged law is insufficient to establish the requisite enforcement connection for purposes of Ex

parte Young. 943 F.3d at 1001. An official’s public statement is insufficient to demonstrate a likelihood

of enforcement. Id.. So are letters from the Attorney General ordering election officials to comply

with applicable laws, if they make no “specific threat or indicate that enforcement [is] forthcoming.”

Id. And the same is true of previous enforcement actions. See City of Austin, 943 F.3d at 1002 (holding

that enforcement of “different statutes under different circumstances does not show that he is likely

to do the same here”). Instead, Plaintiffs must set forth specific facts demonstrating that “formal

enforcement [is] on the horizon.” Tex. Democratic Party, 978 F.3d at 181 (quoting NiGen Biotech, LLC

v. Paxton, 804 F.3d 389, 392 (5th Cir. 2015)).

        Simply put, nothing in Plaintiffs’ complaint supports the conclusion that formal enforcement

is on the horizon. At best, Plaintiffs allege that they think the Attorney General has the authority to

prosecute violations of the SB1 sections listed above and has previously prosecuted election offenses.

That is not sufficient. Plaintiffs are required to plead specific facts showing that the Attorney General

is likely to enforce sections of SB1 such that they would be injured. They do not.




2The State of Texas and the Attorney General believe that Stephens was wrongly decided. The State has filed a
motion asking the Texas Court of Criminal Appeals to reconsider its decision.


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        D. Plaintiffs Fail to Demonstrate an Alternative Exception to Sovereign Immunity

        As explained above, the Ex parte Young exception to qualified immunity does not apply. For

this reason, the Court lacks jurisdiction over the claims Plaintiffs assert against the State Defendants

unless Plaintiffs demonstrate an alternative exception to sovereign immunity. See Tex. Democratic Party,

978 F.3d at 179 (state sovereign immunity applies unless it has been “waived by the state, abrogated

by Congress, or an exception applies.”) They fail to do so.

        Counts 1, 2, 3, and 6 (Section 1983). “Congress has not abrogated state sovereign immunity . . .

under § 1983.” Raj v. LSU, 714 F.3d 322, 328 (5th Cir. 2013). See ECF. ¶¶ 250–300, 327–36.

        Counts 4 and 5 (Sections 2 and 208, VRA). Although OCA-Greater Houston v. Texas holds that the

VRA abrogates sovereign immunity, 867 F.3d 604, 614 (2007), that case was wrongly decided.

“Congress did not unequivocally abrogate state sovereign immunity under Section 2 of the Voting

Rights Act.” Ala. State Conference of the NAACP v. Alabama, 949 F.3d 647, 655 (11th Cir. 2020) (Branch,

J., dissenting). Nor did it do so in Section 208. When the VRA authorizes relief against States, it does

so through suits brought by the Attorney General, see, e.g., 52 U.S.C. § 10308(d), which the Supreme

Court has held are not subject to sovereign immunity. See West Virginia v. United States, 479 U.S. 305,

312 n.4 (1987); United States v. Mississippi, 380 U.S. 128, 140 (1965). Although this Court is bound by

OCA-Greater Houston, the State Defendants preserve this argument for appeal.

        Count 7 (Title II, ADA). As explained in Defendants’ first Motion to Dismiss, see ECF 64 at 8,

the Supreme Court “established a three-part test for determining whether Title II validly abrogates

states’ sovereign immunity.” Block v. Tex. Bd. of Law Examiners, 952 F.3d 613, 617 (5th Cir. 2020). A

court must determine, on a “claim-by-claim basis”:

            (1) which aspects of the State’s alleged conduct violated Title II; (2) to what
            extent such misconduct also violated the Fourteenth Amendment; and (3)
            insofar as such misconduct violated Title II but did not violate the Fourteenth
            Amendment, whether Congress’s purported abrogation of sovereign immunity
            as to that class of conduct is nevertheless valid.

Id. (quoting United States v. Georgia, 546 U.S. 151, 159 (2006)). Under Georgia, if the plaintiff alleges no

conduct that violates Title II, sovereign immunity applies. Id. at 617–19. As explained below, Plaintiffs



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have not alleged the Secretary of State or Attorney General has engaged in conduct violating Title II,

so they are entitled to sovereign immunity on Counts 7.

        Count 8 (Rehabilitation Act). Although a defendant can “waive[] sovereign immunity under § 504

of the Rehabilitation Act,” Plaintiffs plead no facts showing such a waiver. Block, 952 F.3d at 619.

        E. Plaintiffs Fail to Plausibly Allege Traceability or Redressability

        As explained above, sovereign immunity bars the Houston Justice Plaintiffs’ claims asserted

against the State Defendants because the latter do not have a sufficient enforcement connection to

the challenged provisions. But even if Plaintiffs could overcome sovereign immunity, they would still

lack standing to bring their claims because any role the State Defendants have in implementing SB1

does not actually impose the injuries they have alleged sustained. To reiterate, the Ex parte Young

analysis “significantly overlap[s]” with the traceability and redressability analysis. City of Austin, 943

F.3d at 1002. The most important difference is that traceability and redressability are still required

even when sovereign immunity is inapplicable. See U.S. Const. art. III, § 2.

II.     Plaintiffs Fail to State a Claim under the ADA, Rehabilitation Act, or Section 208

        Certain Plaintiffs assert two forms of disability-discrimination claims. The Arc of Texas claims

discrimination under the ADA and the Rehabilitation Act, see ECF ¶¶ 337–65, and the Arc, Mi Familia

Vota, and Delta Sigma Theta Sorority assert claims under Section 208 of the VRA, id. ¶¶ 318–26 None

of their allegations state a claim upon which relief can be granted. Plaintiffs do not have qualifying

disabilities, and they may not bring claims on behalf of persons who actually do. Further, they do not

allege a sufficient connection between the Governor, Secretary of State, or Attorney General and the

enforcement of the challenged sections of SB1. The claims must be dismissed. See Fed. R. Civ. P.

12(b)(1), (6).

        A. Plaintiffs Fail to Plausibly Allege Qualifying Disabilities

        None of the Plaintiffs has a qualifying disability. Indeed, none of them could have a qualifying

disability; each of them is an artificial entity that is incapable of being disabled. ECF 139 ¶ 39. For that

reason alone, their claims must be dismissed. To the extent Plaintiffs rely on associational standing,



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that cannot help Plaintiffs. Delta Sigma and Mi Familia Vota, which do not even allege that they have

disabled members. See id. ¶¶ 42–48, 62–66. Their failure to identify members who would themselves

have standing to bring their ADA and Rehabilitation Act claims means that they have failed to state

valid claims. See Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009); Draper v. Healey, 827 F.3d 1, 3

(1st Cir. 2017) (Souter, J.) (dismissing for lack of standing claim of entity plaintiff that identified no

member was affected by challenged regulation); Disability Rights Wis., Inc. v. Walworth Cnty. Bd. of

Supervisors, 522 F.3d 796, 804 (7th Cir. 2008) (dismissing for lack of standing claims of entity plaintiff

that identified no member affected by disability policy); see also Comcast Corp. v. Nat’l Assoc. of African

Am.-Owned Media, 140 S. Ct. 1009, 1014 (2020) (“[T]he essential elements of a claim remain constant

through the life of a lawsuit. What a plaintiff must do to satisfy those elements may increase as a case

progresses from complaint to trial, but the legal elements themselves do not change.”).

        B. Plaintiffs Cannot Assert Disability Claims as Third Parties

        Even if each Plaintiff had identified particular members, their amended claims would still fail

because Plaintiffs purport to bring individual claims on behalf of third parties. See Danos v. Jones, 652

F.3d 577, 582 (5th Cir. 2011) (plaintiff lacks statutory standing where “alleged rights at issue” belong

to a third party); see also Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 127–28 nn.3–

4 (2014); accord, e.g., Sims v. Tex. Dept. of Hous. & Cmty. Affairs, No. 4:05-cv-2842, 2005 WL 3132184,

at *4 (S.D. Tex. Nov. 21, 2005) (Rosenthal, J.) (dismissing ADA and Rehabilitation Act claims); Baaske

v. City of Rolling Meadows, 191 F. Supp. 2d 1009, 1016–17 (N.D. Ill. 2002) (dismissing ADA claim for

lack of third-party standing).

        The third element of the associational-standing test demands that “neither the claim asserted

nor the relief requested requires participation of individual members,” Center for Biological Diversity v.

United States Environmental Protection Agency, 937 F.3d 533, 536 (5th Cir. 2019), which in turn depends

on “the claim’s substance.” Cornerstone Christian Sch. v. Univ. Interscholastic League, 563 F.3d 127, 134 (5th

Cir. 2009). If the claim at issue has an “individualized element,” then “[t]he involvement of” individual

members “is essential to the resolution of the” claim. Id.




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        Plaintiffs’ claims require individual participation, so they cannot be asserted by third-party

entities. Disability claims, in particular, must be determined in a “case-by-case manner.” Toyota Motor

Mfg., Ky., Inc. v. Williams, 534 U.S. 184, 198 (2002). For example, in a failure-to-accommodate case, it

is a plaintiff’s burden “to specifically identify the disability and resulting limitations and to request an

accommodation in direct and specific terms.” Windham v. Harris County, 875 F.3d 229, 236 (5th Cir.

2017). The plaintiff must show that a provider of public services understood the limitations resulting

from a particular disability; “[o]therwise, it would be impossible for the provider to ascertain whether

an accommodation is needed at all, much less identify an accommodation that would be reasonable

under the circumstances.” Id.; see also Wilson v. City of Southlake, 936 F.3d 326, 329–30 (5th Cir. 2019)

(only material difference between standards for ADA and Rehabilitation Act claims is causation

requirements); Friends for Am. Free Enter. Assn. v. Wal-Mart Stores, Inc., 284 F.3d 575, 577 (5th Cir. 2002)

(the “nature of the claims asserted” demonstrates that individual participation is necessary). The case-

by-case nature of a disability claim applies with equal force to challenges made under § 208. E.g., Ray

v. Texas, No. 2:06-cv-385, 2008 WL 3457021, at *1–3, *6–7 (E.D. Tex. Aug. 7, 2008) (considering

specific effect of voting law on particular elderly plaintiffs under § 208).

        Nothing in the amended complaint suggests that disabled voters will face “uniform” issues

across Texas’s 254 counties and despite variation in individual disabilities. Prison Justice League v. Bailey,

697 F. App’x 362, 363 (5th Cir. 2017) (per curiam). Indeed, Plaintiffs’ allegations demonstrate that the

opposite is true. Plaintiffs allege that their members suffer from a wide variety of conditions—

quadriplegia, cerebral palsy, muscular dystrophy, respiratory failure, and intellectual and

developmental disability. See ECF 139. ¶¶ 58–61. They allege a variety of assistance needs. Id. ¶¶ 58–

60. One admits to not being affected by SB1 but fearing that she will be in the future. Id. ¶ 61. Two

of the members claim a need for assistance that in fact demonstrates one of the harms SB1 is meant

to help prevent—one states that she must “ask her assistor to explain the wording of the lengthy

amendments,” id. ¶ 59, and one states that “he often needs to ask his chosen assistant questions about

the information or words on the ballot,” id. ¶ 60. Given the diversity of alleged disabilies and needed

accommodations, individual participation is crucial for understanding the merits of disability claims.


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Indeed, Plaintiffs cannot even claim to be protecting the entire class of those covered by the law; none

of the persons identified in the amended complaint claims an entitlement to assistance on the basis of

blindness or inability to read or write, two of the categories of persons covered by Section 208. 52

U.S.C. § 10508.

        In fact, overlap between this amended complaint and the OCA-Greater Houston Plaintiffs’

amended complaint highlights the inherent error of allowing a plaintiff to make a broad assertion of

associational standing without identifying specific members. Here, the Arc identifies three of the exact

same members as does REVUP Texas—an OCA-Greater Houston plaintiff. Compare ECF 139 ¶¶ 58–

61, with ECF 137 ¶¶ 9–11, 165–67. Far from identifying persons with unique individualized needs that

would entitle them to sue as representative, these plaintiff groups cannot even identify different people.

Having multiple groups bring the same claims on behalf of the same individuals does not make sense

or promote judicial efficiency.

        Disability claims require individual participation. Their purpose is to ensure that a particular

plaintiff, with a particular disability, can vindicate their particular rights. Plaintiffs here attempt to bring

claims under the ADA, Rehabilitation Act, and Section 208 as an undifferentiated whole. That is not

how disability claims work.

        C. Plaintiffs’ Alleged Injuries are Not Traceable to the State Defendants

        Stating a claim for disability discrimination, whether under the ADA or the Rehabilitation Act,

requires a plausible allegation that a service, program, or activity that is being denied is “provided by”

the public entity being sued. Ivy v. Williams, 781 F.3d 250, 255 (5th Cir. 2015) (citing Pa. Dept. of Corr.

v. Yeskey, 524 U.S. 206, 210 (1998)), vacated as moot sub nom. Ivy v. Morath, 137 S. Ct. 414 (2016). Plaintiffs’

claims fail because the State Defendants do not provide the benefits Plaintiffs say they should receive.

        In Ivy, the Fifth Circuit explained that plaintiffs there could not state a claim against the Texas

Education Agency regarding “driver education” because TEA did “not provide the program, service,

or activity of driver education.” 781 F.3d at 258. TEA merely regulated and supervised the schools




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that provided driver education, rather than providing that service itself. The agency therefore did not

“provide[]” the service for purposes of the ADA and Rehabilitation Act. Id.

        So too here. As explained above, local election officials, not the Secretary or Attorney General,

administer Texas elections. Among other things, they receive and review ballot applications, see Texas

Election Code § 86.001; mail carrier and ballot envelopes to voters, id. § 86.002; receive and process

marked ballots, id. §§ 86.006, 86.007(b), 86.011; verify voter signatures, id. §§ 87.027(i), 87.041(b)(2);

and count the results, id. § 87.061. The State Defendants do not share those duties. In substance, the

logic of Plaintiffs’ claims would impose supervisory liability on the State Defendants. But the Fifth

Circuit rejected that logic in Lightbourn v. El Paso County, 118 F.3d 421 (5th Cir. 1997). There, a group

of plaintiffs who were blind and mobility-impaired sued the Secretary of State because the voting

equipment at their polling places did not allow them to vote with complete secrecy. Id. at 423–24. The

district court held the ADA required the development and adoption of new voting systems—and that

the Secretary had violated it because he failed to ensure the local election authorities complied with

that mandate. The Fifth Circuit reversed, explaining that the Secretary was not responsible for local

officials’ non-compliance with the ADA. See id. at 432 (the Secretary has “no duty under either Texas

law or the ADA to take steps to ensure that local officials comply with the ADA”); see also id. at 429

(although “[t]he Texas Election Code does contain some provisions requiring the Secretary to take

action with respect to elections,” they do not make the Secretary responsible for local compliance).

        The same is true here for the voter-assistance and signature-match language that Plaintiffs

challenge. Local elections officials, not the State Defendants, provide the benefits of the services that

Plaintiffs contend they have been denied. Plaintiffs cannot plausibly allege that the State Defendants,

who do not enforce the portions of SB1 challenged by the disability claims, have excluded anyone

from a program or denied to anyone a benefit.

        D. Plaintiffs’ Claims Fail on the Merits

        Finally, Plaintiffs have not plausibly alleged that SB1 actually discriminates against voters with

disabilities. They are not “excluded from participation in, or being denied benefits of,” or “otherwise




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being discriminated against” in voting. Smith v. Harris County, 956 F.3d 311, 317 (5th Cir. 2020). In

fact, Texas law expressly prohibits election officials from interpreting the Texas Election Code “to

prohibit or limit the right of a qualified individual with a disability from requesting a reasonable

accommodation or modification to any election standard, practice, or procedure mandated by law or

rule that the individual is entitled to request under federal or state law.” Tex. Elec. Code § 1.022.

        Disabled Texans have multiple options to vote in every election. Among others, they may

vote:

        •   in a polling place during early voting, see id. § 41.001, 82.005;

        •   at the curbside during early voting, see id. § 64.009;

        •   in a polling place on Election Day, see id. § 81.001;

        •   at the curbside on Election Day, see id. § 64.009; or

        •   by mail, id. at 82.002(a)

These are the same options offered to other voters, except that non-disabled voters are generally not

eligible for curbside voting and may vote by mail only if they are elderly or satisfy other special

conditions. See id. §§ 64.009, 82. 001–004, 82.007–008.

        Plaintiffs have not plausibly alleged how SB1 has so curtailed the availability of voting through

any one of these five methods that it constitutes an exclusion from participating in, or denial of the

benefits of, the election process. See also 28 C.F.R. § 35.150 (“service, program, or activity, when viewed

in its entirety” must be accessible, but public entity does not necessarily need to “make each of its existing

facilities accessible”) (emphases added). After all, Plaintiffs have a right to vote, not a right to vote by

their preferred method. See McDonald v. Bd. of Election Comm’rs, 394 U.S. 802, 807 (1969) (plaintiffs had

“right to vote,” not “a claimed right to receive absentee ballots”).

        Nor have Plaintiffs plausibly alleged that the operation of SB1 has “failed to make reasonable

accommodations” in voting. Smith, 956 F.3d at 317. Texas law allows for numerous accommodations

for disabled voters. It guarantees to disabled voters the right to request a reasonable accommodation




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for or modification of any mandatory election standard, practice, or procedure if the voter is entitled

to such a request under federal or state law. Tex. Elec. Code § 1.022. Texas law also requires particular

accommodations for in-person voting. At least one voting station at each polling location must have

an accessible voting system that allows voters to cast a ballot both independently and secretly. See id.

§ 61.012. Polling locations must meet strict standards, including curb cuts or temporary nonslip ramps,

ground floor access, wide doorframes, handrails, and the removal of any barrier that impedes a voter’s

pathway to the voting station. Id. § 43.034. To the extent voters cannot enter a polling location, local

election officials must offer alternatives, such as curbside voting, which allows voters to vote without

ever leaving their cars. Id. § 64.009.

        At bottom, the law requires reasonable accommodations, not preferred accommodation. See

Henrietta D. v. Bloomberg, 331 F.3d 261, 275 (2d Cir. 2003) (neither ADA nor Rehabilitation Act requires

equal access or equal results for individuals with disabilities). Texas’s accommodations may not match

Plaintiffs’ preferences perfectly, but they are not required to do so. Texas is required to offer its

disabled voters meaningful access to the opportunity to vote. See Alexander v. Choate, 469 U.S. 287, 301

(1985) (reasonable accommodation must give qualified individuals “meaningful access”); Cadena, 946

F.3d at 725 (qualified individuals have a right to “meaningful access”). That is what Texas does—and

Plaintiffs do not allege otherwise.

        *       *        *

        With respect to their claims under the ADA, Rehabilitation Act, and Section 208 of the VRA,

Plaintiffs fail to state a claim from which relief can be granted. They fail to identify specific members,

cannot assert these highly individualized claims as a third party, fail to demonstrate that the State

Defendants deny them the access they seek, and fail to show that SB1 violates the law as a matter of

substance. These claims must be dismissed.

III.    The Houston Justice Plaintiffs Lack Private Causes of Action Under the VRA

        Finally, the Houston Justice Plaintiffs’ claims under §§ 2 and 208 of the Voting Rights Act

must be dismissed because those statutes do not create a private cause of action. State Defendants will




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not burden the Court with further briefing on these issues that they raised in their previous Motion to

Dismiss, ECF 64 at 16–21, because of the Court’s denial of these arguments during the November

16, 2021 status conference. State Defendants respectfully disagree with that ruling and raise these

arguments to preserve them for further review.

                                            CONCLUSION
       The State Defendants respectfully request that the Court dismiss the claims asserted by the

Houston Justice Plaintiffs.




Date: January 5, 2022                            Respectfully submitted.

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                                   CERTIFICATE OF SERVICE
I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on January 5, 2022, and that all counsel of record were served by CM/ECF.

                                               /s/ Patrick K. Sweeten
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